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                                                           November 1, 2021


The Honorable Nelson S. Roman
United States District Judge
Charles L. Brieant Jr. Federal Building
and United States Courthouse
300 Quarropas St.
White Plains, New York 10601-4150



                             Re:     United States v. Sincere Savoy, 17-Cr-644 (NSR) 

Dear Judge Roman:

       Sentencing for Mr. Savoy is currently scheduled for November 17, 2021. With the
consent of the government, my co-counsel Jeremy Schneider and I respectfully request an
adjournment of sentencing to January 25-27, 2022.

       We make this request for the following reasons. I am currently on trial in the Southern
District of Ohio. Moreover, Mr. Schneider starts a lengthy trial in the Southern District of
New York on December 13th. Given these scheduling issues, we ask, and the government
consents, to move Mr. Savoy’s sentencing to the end of January, specifically to January 25-27, if
the Court is amendable.

       Thank you for your consideration.

                                                    Respectfully submitted,

                                                           /s/

                                                    Florian Miedel
                                                    Attorney for Sincere Savoy

       CC: All counsel (via ECF)
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